Case 2:92-cr-20132-.]DB Document 52 Filed 08/03/05 Page 1 of 2 Page|D 72

IN THE UNITED STATES DISTRiCT CoURT M'*‘ ~ 99 M-
FoR THE WESTERN DISTRICT oF TENNESSPE m J

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WESTERN DIVISION

CGUP.T

  

UNITED STATES OF AMERICA,

Plaintiff,
* No. 92-20132-B‘/
vs. No. 03-20169~B
*
LERMEDEYO MALONE,
*
Defendant.

ORDER GRANTING PARTIES’ MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the parties’ motion to continue the Sentencing of defendant,
LERMEDEYO MALONE, currently Set for August 8, 2005, is hereby GRANTED, and the

Sentencing is hereby reset to _QM, _LL, 2005, at q'.OOa m.

DONE at Memphis, Tennessee, this %‘Q ay 093:¢‘§£2005,

@ED STATES DISTRIET JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 52 in
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August 4, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

